Case 2:22-cv-00223-Z Document 163 Filed 12/15/23    Page 1 of 32 PageID 5527


                       UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                             AMARILLO DIVISION



  Alliance for Hippocratic Medicine, et al.,

                                  Plaintiffs,
                                                Case No. 2:22-cv-00223-Z
                          v.

  U.S. Food and Drug Administration, et al.,

                                Defendants.


 DEFENDANTS’ OPPOSITION TO THE STATES OF MISSOURI, KANSAS, AND
                IDAHO’S MOTION TO INTERVENE
  Case 2:22-cv-00223-Z Document 163 Filed 12/15/23                                                            Page 2 of 32 PageID 5528



                                                          TABLE OF CONTENTS

BACKGROUND .............................................................................................................................................. 1

DISCUSSION .................................................................................................................................................... 2

            I.          Granting Intervention Would Be Futile Given this Court’s Lack of Jurisdiction......... 2

                        A.           The States Cannot Rehabilitate the Plaintiffs’ Lack of Standing. ...................... 3

                        B.           The States Independently Lack Standing to Pursue Their Claims..................... 4

                                     1.          The States cannot rely on indirect and speculative economic
                                                 harms. ............................................................................................................ 5

                                     2.          The States have not established a threat to their sovereign
                                                 interests. ........................................................................................................ 7

                                     3.          The States cannot assert a quasi-sovereign interest in protecting
                                                 citizens in a suit against the federal government. ................................... 9

                                     4.          The States lack standing to challenge the 2019 approval of
                                                 generic mifepristone.................................................................................... 9

            II.         The States Meet None of the Criteria for Intervention as of Right ..............................10

                        A.           The States’ delay is fatal to their request..............................................................11

                        B.           The States have not demonstrated an interest in this litigation. ......................18

                        C.           The outcome of this matter will have no bearing on the States’
                                     interests.....................................................................................................................20

                        D.           The States have failed to rebut the presumption of adequate
                                     representation. .........................................................................................................22

            III.        Permissive intervention should be denied. .......................................................................25




                                                                                 i
  Case 2:22-cv-00223-Z Document 163 Filed 12/15/23                                                        Page 3 of 32 PageID 5529



                                                      TABLE OF AUTHORITIES

CASES

Aetna Cas. & Sur. Co. v. Hillman,
  796 F.2d 770 (5th Cir. 1986) ........................................................................................................................ 4

Alfred L. Snapp & Son, Inc. v. Puerto Rico ex rel. Barez,
  458 U.S. 592 (1982) ....................................................................................................................................... 9

All. for Hippocratic Med. v. FDA,
  78 F.4th 210 (5th Cir. 2023) .....................................................................................................................2, 9

All. for Hippocratic Med. v. FDA,
  No. 23-10362, 2023 WL 2913725 (5th Cir. Apr. 12, 2023) ..................................................................... 2

Arizona v. Biden,
  40 F.4th 375 (6th Cir. 2022) ......................................................................................................................... 6

Bauer v. Texas,
  341 F.3d 352 (5th Cir. 2003) ........................................................................................................................ 8

BMW of N. America, Inc. v. Gore,
 517 U.S. 559 (1996) ....................................................................................................................................... 9

Brumfield v. Dodd,
  749 F.3d 339 (5th Cir. 2014) .................................................................................................. 21, 22, 23, 24

Bush v. Viterna,
  740 F.2d 350 (5th Cir. 1984) ......................................................................................................................23

Clapper v. Amnesty Int’l USA,
  568 U.S. 398 (2013) ...................................................................................................................................7, 8

Danco Lab’ys, LLC v. All. for Hippocratic Med.,
 143 S. Ct. 1075 (2023) ................................................................................................................................... 2

Disability Advocs., Inc. v. N.Y. Coal. for Quality Assisted Living, Inc.,
  675 F.3d 149 (2d Cir. 2012) ......................................................................................................................3, 4

Edwards v. City of Houston,
  78 F.3d 983 (5th Cir. 1996) .................................................................................................... 11, 15, 23, 24

El Paso Cnty., Texas v. Trump,
  982 F.3d 332 (5th Cir. 2020) ........................................................................................................................ 6




                                                                              ii
  Case 2:22-cv-00223-Z Document 163 Filed 12/15/23                                                        Page 4 of 32 PageID 5530


GenBioPro, Inc. v. Sorsaia,
  No. CV 3:23-0058, 2023 WL 5490179 (S.D.W. Va. Aug. 24, 2023) .............................................. passim

Georgia Republican Party v. Sec. & Exch. Comm’n,
  888 F.3d 1198 (11th Cir. 2018) .................................................................................................................... 4

Haaland v. Brackeen,
 143 S. Ct. 1609 (2023) ................................................................................................................................... 9

Harris v. Amoco Prod. Co..
 768 F.2d 669 (5th Cir. 1985) ........................................................................................................................ 3

Heaton v. Monogram Credit Card Bank of Georgia,
 297 F.3d 416 (5th Cir. 2002) ......................................................................................................... 20, 21, 24

John Doe No. 1 v. Glickman,
   256 F.3d 371 (5th Cir. 2001) .................................................................................................. 14, 17, 22, 23

Kendrick v. Kendrick,
  16 F.2d 744 (5th Cir. 1926) .......................................................................................................................... 3

Kleissler v. U.S. Forest Serv.,
  157 F.3d 964 (3d Cir. 1998) ........................................................................................................................19

New Orleans Pub. Serv., Inc. v. United Gas Pipe Line Co.,
 732 F.2d 452 (1984) ........................................................................................................................ 19, 20, 25

Ross v. Marshall,
  426 F.3d 745 (5th Cir. 2005) ......................................................................................................... 15, 17, 22

Rotstain v. Mendez,
  986 F.3d 931 (5th Cir. 2021) ......................................................................................................................25

Sierra Club v. City of San Antonio,
   115 F.3d 311 (5th Cir. 1997) ............................................................................................................... 20, 23

Sierra Club v. Espy,
   18 F.3d 1202 (5th Cir. 1994) ................................................................................................................ passim

Spokeo, Inc. v. Robins,
  578 U.S. 330 (2016) ....................................................................................................................................... 5

Stallworth v. Monsanto Co.,
  558 F.2d 257 (5th Cir. 1977) .................................................................................................. 11, 15, 18, 25

Summers v. Earth Island Inst.,
  555 U.S. 488 (2009) .....................................................................................................................................10


                                                                              iii
  Case 2:22-cv-00223-Z Document 163 Filed 12/15/23                                                        Page 5 of 32 PageID 5531


Summit Off. Park, Inc. v. U.S. Steel Corp.,
  639 F.2d 1278 (5th Cir. 1981) ...................................................................................................................... 3

Texas v. United States,
  805 F.3d 653 (5th Cir. 2015) ............................................................................................................... 19, 24

Town of Chester v. Laroe Estates, Inc.,
  581 U.S. 433 (2017) ....................................................................................................................................... 5

TransUnion LLC v. Ramirez,
  141 S. Ct. 2190 (2021) ................................................................................................................................... 5

Trbovich v. United Mine Workers of Am.,
  404 U.S. 528 (1972) .....................................................................................................................................23

United States v. 36.96 Acres of Land, More or Less,
 754 F.2d 855 (7th Cir. 1985) ......................................................................................................................18

United States v. Texas,
 143 S. Ct. 1964 (2023) .......................................................................................................................... 5, 6, 8

Wal-Mart Stores, Inc. v. Texas Alcoholic Beverage Comm’n,
 834 F.3d 562 (5th Cir. 2016) ......................................................................................................... 10, 20, 24

Walters v. Edgar,
 163 F.3d 430 (7th Cir. 1998) ........................................................................................................................ 4

RULES

Fed. R. Civ. P. 24 ......................................................................................................................... 10, 19, 22, 25

OTHER AUTHORITIES

7C Charles A. Wright et al., Federal Practice & Procedure § 1917 (3d ed. Apr. 2023) ........................... 3

7C Charles A. Wright et al., Federal Practice & Procedure § 1918 (3d ed. Apr. 2023) ........................... 4

Abortions in Kansas, 2020 Preliminary Report,
 https://perma.cc/2BT8-DENC ...............................................................................................................12

Abortions in Kansas, 2021 Preliminary Report,
 https://perma.cc/3CQ6-SFNE ................................................................................................................12

Abortions in Kansas, 2022 Preliminary Report,
 https://perma.cc/L5XC-4JT2...................................................................................................................12




                                                                              iv
  Case 2:22-cv-00223-Z Document 163 Filed 12/15/23                                              Page 6 of 32 PageID 5532


Mail-order abortion pill requests surged after Roe reversal, study finds, AXIOS, Nov. 1, 2022,
 https://perma.cc/6BDZ-3Z9D ................................................................................................................13

Nearly half of abortions in Kansas are for Missouri residents, THE KANSAS CITY BEACON, Nov. 17, 2021,
 https://perma.cc/H5HA-5GCK ..............................................................................................................12

To get banned abortion pills, patients turn to legally risky tactics, THE WASHINGTON POST, July 6, 2022,
  https://perma.cc/K8Z9-VV35 .................................................................................................................13




                                                                       v
Case 2:22-cv-00223-Z Document 163 Filed 12/15/23                      Page 7 of 32 PageID 5533



        The States of Missouri, Idaho, and Kansas seek to intervene in this case almost a year after

it was filed, after the Supreme Court has granted certiorari, for the express purpose of remedying

jurisdictional defects in the existing Plaintiffs’ standing—failures the U.S. Food & Drug

Administration (FDA) has emphasized since its initial filing in this case. The Court should deny this

belated request, for several reasons.

        First, granting the States’ intervention motion would be futile. The States seek to intervene

because they claim that their presence in the case can cure defects in Plaintiffs’ standing. But as

previously explained, jurisdiction over a case must be established at the outset of litigation, so if

Plaintiffs did not possess standing when the case commended, that defect cannot be cured by the

later intervention of new parties. Moreover, the States’ own theories of standing fail as a matter of

law, further highlighting that their participation could not allow this case to proceed.
        Second, even apart from jurisdiction, the States do not make the showing necessary to

support intervention. The States attempt to justify their extreme delay by pointing to three events

this past summer that, they say, newly apprised them of an interest in this litigation. But each of

those events was either not new or not relevant to this litigation, and therefore cannot excuse the

States’ untimely request to participate. Moreover, the States’ asserted interest in this litigation is

illusory because resolution of Plaintiffs’ claims will not directly impact any of the States; for similar

reasons, denying intervention cannot possibly impair or impede the States’ ability to protect any

legally cognizable interest. And the States also cannot rebut the strong presumption that the existing

Plaintiffs adequately protect their asserted interests, since both groups seek the same relief in this

lawsuit and the States cannot articulate any adversity of interest between them. In short, the States

do not meet any of the factors for intervention as of right, and for similar reasons cannot establish

any reason to grant permissive intervention. To the extent the Court does not await the outcome

of Supreme Court merits proceedings before ruling, the motion for intervention should be denied.

                                          BACKGROUND

        Plaintiffs filed suit and sought a preliminary injunction on November 18, 2022. See ECF

Nos. 1, 8. On April 7, 2023, this Court granted in part Plaintiffs’ motion and stayed the effective


                                                   1
Case 2:22-cv-00223-Z Document 163 Filed 12/15/23                      Page 8 of 32 PageID 5534



date of the challenged agency actions. See ECF No. 137. That same day, both FDA and Intervenor-

Defendant Danco Laboratories, LLC filed notices of appeal. See ECF Nos. 138, 139. The United

States Court of Appeals for the Fifth Circuit issued a partial stay of this Court’s order on April 12,

2023, see No. 23-10362, 2023 WL 2913725, and on April 21, 2023, the Supreme Court fully stayed

that same order pending resolution of Supreme Court proceedings in this case. See Danco Lab’ys,

LLC v. All. for Hippocratic Med., 143 S. Ct. 1075 (2023). This Court’s order thus never has taken

effect. On August 16, 2023, the Fifth Circuit resolved the merits of the appeal, vacating in part and

affirming in part this Court’s order. See All. for Hippocratic Med. v. FDA, 78 F.4th 210 (5th Cir. 2023).
         Both FDA and Danco filed petitions for a writ of certiorari on September 8, 2023, Supreme

Court Case Nos. 23-235, 23-236, seeking review to determine Plaintiffs’ Article III standing,

likelihood of success on the merits of the FDA actions as to which the Fifth Circuit affirmed this

Court’s order, and the appropriate scope of relief, if any. On October 12, 2023, Plaintiffs filed a

conditional cross-petition for certiorari presenting additional questions regarding those claims as to

which the Fifth Circuit vacated this Court’s order. Supreme Court Case No. 23-395. On December

13, 2023, the Supreme Court granted FDA’s and Danco’s petitions for certiorari, in time for the

case to be argued and decided this term, and denied Plaintiffs’ cross-petition.

         In the meantime, the States of Missouri, Kansas, and Idaho filed a motion to intervene as

plaintiffs in this action on November 3, 2023, nearly one year after litigation commenced. See ECF

No. 151. The States ground their asserted need to intervene on FDA’s consistent arguments that

the existing Plaintiffs lack standing: Because the States seek to press what they describe as

“sovereign and economic harms that cannot be asserted by private plaintiffs,” they contend their

intervention will “ensure[] that this Court (or appellate courts) can more cleanly get to the merits of

this” case. ECF No. 152, Suggestions in Supp. of Mot. to Intervene (“Mot.”), at 1.

                                           DISCUSSION

    I.      Granting Intervention Would Be Futile Given this Court’s Lack of Jurisdiction.




                                                   2
Case 2:22-cv-00223-Z Document 163 Filed 12/15/23                       Page 9 of 32 PageID 5535


        A. The States Cannot Rehabilitate the Plaintiffs’ Lack of Standing.
        FDA consistently has argued throughout this litigation that the existing Plaintiffs lack

standing. See ECF No. 28, Defs.’ Opp’n to Mot. for Prelim. Inj., at 8-16; Application for Stay, No.

22A902, 2023 WL 3127519 (Apr. 14, 2023); Br. for Fed. Appellants, No. 23-10362, 2023 WL

3273780 (5th Cir. Apr. 26, 2023); Pet. for Cert., No. 23-235. Almost a year into litigation, the States

now seek to intervene in an effort to remedy those jurisdictional defects. See Mot. at 1, 5. But the

States cannot salvage the Plaintiffs’ lack of standing because jurisdiction is measured at the outset

of litigation—and if the existing Plaintiffs lack standing, the States cannot proceed in this district,

because the case would have to be dismissed or transferred for improper venue.
        As previously explained, it is “well-settled that ‘[a]n existing suit within the court’s

jurisdiction is a prerequisite of an intervention, which is an ancillary proceeding in an already

instituted suit.’” Harris v. Amoco Prod. Co.. 768 F.2d 669, 675 (5th Cir. 1985) (quotation omitted); see

ECF No. 155, Mot. to Hold in Abeyance the Mot. to Intervene, at 4-5; ECF No. 158, Reply Mem.

in Supp. of Abeyance, at 4-7. Because the Federal Rules of Civil Procedure cannot extend the

jurisdiction of any court, “[i]ntervention cannot cure any jurisdictional defect that would have

barred the federal court from hearing the original action.” 7C Charles A. Wright et al., Federal

Practice & Procedure § 1917 (3d ed. Apr. 2023). Consequently, if the existing Plaintiffs are held to

lack standing, the States cannot vest this Court with jurisdiction to reach the merits.

        These principles apply regardless of whether this Court rules on the intervention request

before or after any ruling on standing from the Supreme Court. See ECF No. 158 at 4-6; Disability

Advocs., Inc. v. N.Y. Coal. for Quality Assisted Living, Inc., 675 F.3d 149, 160-62 (2d Cir. 2012) (noting

agreement on this “deeply entrenched” jurisdictional principle in every circuit to have reached the

question); Summit Off. Park, Inc. v. U.S. Steel Corp., 639 F.2d 1278, 1282 (5th Cir. 1981) (“where a

plaintiff never had standing to assert a claim against the defendants, it does not have standing to

amend the complaint and … substitute[e] new plaintiffs, a new class, and a new cause of action”);

Kendrick v. Kendrick, 16 F.2d 744, 745-46 (5th Cir. 1926) (“An existing suit within the court’s

jurisdiction is a prerequisite of an intervention … The intervening petition being ‘merely a



                                                    3
Case 2:22-cv-00223-Z Document 163 Filed 12/15/23                      Page 10 of 32 PageID 5536



contrivance between friends for the purposes of founding a jurisdiction which otherwise would not

exist, the device cannot be allowed to succeed.’”) (citation omitted); Aetna Cas. & Sur. Co. v. Hillman,

796 F.2d 770, 776 (5th Cir. 1986) (holding that the existence of jurisdiction “at the commencement of

the action is controlling … and subsequent actions do not affect the court’s jurisdiction. Jurisdiction

cannot be created retroactively by substituting a diverse claimant for a nondiverse party.” (citations

omitted)); Walters v. Edgar, 163 F.3d 430, 432-33 (7th Cir. 1998) (holding “federal jurisdiction never

attached” if “plaintiffs never had standing to bring this suit,” a failure that cannot be cured through

addition of new parties).
        Nor could the States independently proceed with their claims in this Court, given their

inability to satisfy venue. See ECF No. 155 at 4-5; ECF No. 158 at 7-8. In the scenario posited by

the States, in which the Supreme Court determines that Plaintiffs lack standing, this suit must be

dismissed or transferred regardless of the merits of the States’ intervention request, since an

intervenor in that situation must “satisf[y] by itself the requirements of jurisdiction and venue,”

Federal Practice & Procedure § 1918. Cf. Georgia Republican Party v. Sec. & Exch. Comm’n, 888 F.3d

1198, 1205 (11th Cir. 2018) (transferring case to proper court where only party satisfying venue

lacked standing).

        In short, the States cannot escape the “deeply entrenched” principle that “intervention will

not be permitted to breathe life into a ‘nonexistent’ lawsuit.” Disability Advocs., Inc., 675 F.3d at 160

(citation omitted). At a minimum, these jurisdictional issues underscore that the Court may wish to

await the outcome of Supreme Court proceedings before ruling on this motion.

    B. The States Independently Lack Standing to Pursue Their Claims.

        Even apart from the States’ inability to manufacture jurisdiction if Plaintiffs lack standing,

allowing intervention would be futile for yet another reason: The States have not adequately

established their own Article III standing to pursue their claims. Specifically, the States rely on three

claimed injuries: purported economic harms stemming from complications after certain individuals

take mifepristone; sovereign harms to the States’ ability to enforce their legal codes; and quasi-




                                                   4
Case 2:22-cv-00223-Z Document 163 Filed 12/15/23                      Page 11 of 32 PageID 5537



sovereign interests in preventing harm to their citizens. But none of these alleged injuries satisfies

Article III, as previewed here (and as FDA would demonstrate in a motion to dismiss, if necessary).

        Even if the Supreme Court were to uphold the Fifth Circuit’s determination that Plaintiffs

have standing, the States still must demonstrate standing to the extent they seek relief beyond that

currently sought by the existing Plaintiffs. See Town of Chester v. Laroe Estates, Inc., 581 U.S. 433, 439

(2017). Here that would mean, at minimum, establishing standing to seek rescission of FDA’s 2019

approval of the generic version of mifepristone, see Prop. Compl. ¶¶ 407-15, which under current

Fifth Circuit precedent Plaintiffs lack standing to challenge.
        To demonstrate Article III standing, “a plaintiff must show (i) that he suffered an injury in

fact that is concrete, particularized, and actual or imminent; (ii) that the injury was likely caused by

the defendant; and (iii) that the injury would likely be redressed by judicial relief.” TransUnion LLC

v. Ramirez, 141 S. Ct. 2190, 2203 (2021). To establish injury in fact, the States are required to show

“an invasion of a legally protected interest” that is both “concrete and particularized” and “actual

or imminent, not conjectural or hypothetical.” Spokeo, Inc. v. Robins, 578 U.S. 330, 339 (2016)

(citation omitted). None of the States’ theories suffice.

        1. The States cannot rely on indirect and speculative economic harms.
        The States first allege that FDA’s decisions have “inflict[ed] substantial economic injury on

[Movant] States,” Prop. Compl. ¶ 261, through the provision of emergency care for Medicaid

recipients experiencing complications after taking mifepristone, id. ¶¶ 278-300, through

unrecompensed costs for providing that same care at public hospitals, id. ¶¶ 301-06, and through

mental health care purportedly provided through public insurance for patients who took

mifepristone, id. ¶¶ 307-15.

        This theory is incompatible with the Supreme Court’s recent decision in United States v. Texas,

143 S. Ct. 1964 (2023). There, two states asserted standing to challenge federal immigration-

enforcement guidelines on the theory that the guidelines “impose[d] costs on the States,” because

they would make expenditures to “continue to incarcerate or supply social services such as

healthcare and education to noncitizens.” Id. at 1969. Although the district court had accepted that


                                                    5
Case 2:22-cv-00223-Z Document 163 Filed 12/15/23                      Page 12 of 32 PageID 5538



theory, the Supreme Court reversed, explaining that the states’ challenge to the enforcement

guidelines was “not the kind redressable by a federal court,” id. at 1971, and emphasizing that

“federal courts must remain mindful of bedrock Article III constraints in cases brought by States

against an executive agency or officer,” id. at 1972 n.3. In particular, the Court criticized as

“attenuated” theories of state standing resting on claims that a federal policy “has produced only”

“indirect effects on state revenues or state spending.” Id. “[I]ncidental and attenuated harm is

insufficient to grant a state or county standing.” El Paso Cnty., Texas v. Trump, 982 F.3d 332, 341

(5th Cir. 2020); see also, e.g., Arizona v. Biden, 40 F.4th 375, 386 (6th Cir. 2022) (a “boundless theory

of standing,” “in which all peripheral costs imposed on States by actions of the [federal government]

create a cognizable Article III injury,” “‘would make a mockery … of the constitutional requirement

of case or controversy’”).
        The States’ assertion of economic harm matches precisely the sort of harm that the Supreme

Court described as “attenuated,” Texas, 143 S. Ct. at 1972 n.3. The States do not claim that FDA

has directly imposed costs on them, and instead argue that they will make additional expenditures

because of FDA’s failure to regulate others (e.g., the sponsors of mifepristone) more strictly and the

resulting decisions of private parties. Specifically, the States suggest that FDA’s modification of

mifepristone’s conditions of use, including relaxation of certain restrictions on access, makes their

citizens more likely to obtain the medication within or outside their borders, and to the extent their

citizens experience an extremely rare serious adverse event and require medical care as a result, the

State might wind up paying for that care under Medicaid (or a state-subsidized hospital might

provide less-than-fully-compensated care). Federal courts lack jurisdiction to address alleged harms

whose connection to the challenged policy is so speculative and indirect, given that “federal policies

frequently generate indirect effects on state revenues or state spending.” Id.

        In addition to being legally foreclosed, there are also serious reasons to doubt the factual

plausibility of the States’ theories. For instance, despite the large numbers of women who have

taken mifepristone, Idaho identifies only a single example of a state Medicaid recipient ever having

been treated for “bleeding following a failed medication abortion,” Prop. Compl. ¶ 295. And


                                                   6
Case 2:22-cv-00223-Z Document 163 Filed 12/15/23                    Page 13 of 32 PageID 5539



although Idaho claims to have expended several thousand dollars in state funds in 2019 and 2022

“covering treatment and follow-up care for abortion medical complications,” id. ¶¶ 296-97, it does

not specify whether the relevant abortions actually involved mifepristone, let alone provide any

basis for concluding that Idaho would have avoided those expenditures if FDA’s 2016 and later

actions were invalidated and mifepristone was available only under the pre-2016 conditions of use.

(That is the necessary showing the States must make, given that they do not challenge the underlying

2000 approval, and instead challenge only FDA’s actions from 2016 and beyond.) Such threadbare

allegations suggestive, at most, of isolated instances of past harm fall far short of demonstrating

certainly impending future injury. Clapper v. Amnesty Int’l USA, 568 U.S. 398, 410 (2013).

        Equally insufficient is Missouri’s speculation that, “[i]f a public hospital provides medical

services for complications stemming from” mifepristone and does not receive full reimbursement

from state Medicaid, that facility could suffer a loss; nowhere does Missouri allege that its Medicaid

reimbursement rate for such treatment is, in fact, lower than its public hospitals’ costs or that those

hospitals have even experienced a loss when treating past complications. See Prop. Comp. ¶¶ 301-

06 (emphasis added). And Kansas makes no attempt whatsoever to allege concrete economic harms.

These defects (and others, to be addressed in a motion to dismiss, if necessary) underscore that the

States’ claimed economic harms are neither legally nor factually cognizable.
        2. The States have not established a threat to their sovereign interests.
        The States next allege that “FDA’s actions interfere with [the] States’ ‘sovereign interest in

the power to create and enforce a legal code,’” Prop. Compl. ¶ 322 (citation omitted), in two ways.

Neither is sufficient to establish standing.

        First, the States suggest that a court might regard FDA’s elimination of the in-person

dispensing requirement as preempting Missouri’s laws governing the dispensing of mifepristone

and other drugs that induce abortions. But the States fail to identify any actual or imminent

controversy over whether their laws are preempted; they simply point to a recent decision of a

district court addressing West Virginia’s laws. GenBioPro, Inc. v. Sorsaia, 2023 5490179 (S.D. W. Va.

Aug. 24, 2023). The States cannot establish standing to challenge FDA’s action on the theory that


                                                  7
Case 2:22-cv-00223-Z Document 163 Filed 12/15/23                    Page 14 of 32 PageID 5540



someone, at some point, in some other case might rely on that action to argue that their laws are

preempted. See, e.g., Bauer v. Texas, 341 F.3d 352, 358 (5th Cir. 2003) (standing to seek equitable

relief cannot be based on a “conjectural, hypothetical, or contingent” dispute; there must be a “real

and immediate” controversy over “a definite, rather than speculative threat of future injury”).

       Second, the States claim sovereign harms in FDA’s actions allegedly “interfer[ing] with the

fundamental policy of States like Missouri to prohibit abortions (other than in exceptional

circumstances) and to require in-person administration of abortion drugs,” Prop. Compl. ¶ 325—

in other words, that FDA’s actions purportedly make it easier for others to evade state law. But this

theory cannot be squared with the Supreme Court’s decision in United States v. Texas, in which the

district court found state standing based on the assertion that a federal policy led to individuals

“committing[] more crimes in Texas,” 606 F. Supp. 3d 437, 467 (S.D. Tex. 2022), but the Supreme

Court then reversed, concluding that “none of the various theories of standing asserted by the States

… overcomes the fundamental Article III problem with this lawsuit.” 143 S. Ct. at 1972 n.3. The

Supreme Court consistently has refused to “endorse standing theories that rest on speculation about

the decisions of independent actors,” Clapper, 568 U.S. at 414. And here, FDA’s determinations

simply resulted in the elimination of a federal requirement that the drug be dispensed in person; it

does not cause any provider to thwart state restrictions.
       The States’ theory—that their own sovereign interests allow them to challenge FDA’s

actions based on decisions made by individuals in other states—flips federalism principles on their

head. In essence the States’ argument posits that, since they have chosen to restrict their citizens’

access to abortion medication while other sovereign states have opted to protect that access, and

because state residents can cross state lines to obtain medication or receive it through the mail, the

States are harmed by those other states’ more-permissive rules and thus have the right to block

those other states’ policy choices by suing to enjoin FDA’s actions nationwide. That theory is

inconsistent with our federalist system. For instance, states have made widely differing judgments

about the availability of, e.g., fireworks—but a state seeking to clamp down on fireworks coming

across its border cannot sue to halt sales nationwide, including in states where they are legal. The


                                                  8
Case 2:22-cv-00223-Z Document 163 Filed 12/15/23                      Page 15 of 32 PageID 5541



States’ disagreement with abortion does not allow them to “impose [their] own policy choice on

neighboring States.” BMW of N. America, Inc. v. Gore, 517 U.S. 559, 571 (1996).

        3. The States cannot assert a quasi-sovereign interest in protecting citizens in a suit
           against the federal government.

        The States also allege harm to their “quasi-sovereign interest in protecting the health and

welfare of women and girls.” Prop. Compl. ¶ 343. But that argument runs headlong into the well-

established rule that States cannot assert parens patriae interests against the federal government.

        The Supreme Court has repeatedly and recently emphasized that States cannot assert their

citizens’ rights in a suit against a federal agency, “because ‘[a] State does not have standing as parens

patriae to bring an action against the Federal Government.’” Haaland v. Brackeen, 143 S. Ct. 1609,

1640 (2023) (quoting Alfred L. Snapp & Son, Inc. v. Puerto Rico ex rel. Barez, 458 U.S. 592, 610 n.16

(1982)). The States’ asserted interest in preventing harm to their citizens is directly analogous to the

interest held insufficient for standing in Brackeen—there, a state’s interest in safeguarding the

constitutional rights of “non-Indian families,” Id.. at 1640 n.11. The Supreme Court described the

state’s reliance on that interest as “a thinly veiled attempt to circumvent the limits on parens patriae

standing.” Id. So too here; indeed, the States make no attempt to explain how their reliance on an

“interest in the health and well-being … of its residents in general,” Prop. Compl. ¶ 343 (quotation

omitted), could be reconciled with the black-letter principle that, although a state can “under some

circumstances” sue a nonfederal entity “for the protection of its citizens,” “it is no part of its duty

or power to enforce their rights” against “the Federal Government” because “it is the United States,

and not the State, which represents them.” Snapp, 458 U.S. at 610 n.16.

        4. The States lack standing to challenge the 2019 approval of generic mifepristone.
        As set forth above, none of the States’ alleged injuries is sufficient to establish standing. But

the States’ efforts to challenge FDA’s 2019 approval of the generic version of mifepristone fail for

an additional reason as well: The States fail to introduce any “evidence that the 2019 Generic

Approval contributed to any … injury sustained by” the States. All. for Hippocratic Med., 78 F.4th at

241. The States (and a purported expert declaration they attach) invoke principles of supply and


                                                   9
Case 2:22-cv-00223-Z Document 163 Filed 12/15/23                        Page 16 of 32 PageID 5542



demand, suggesting that “[b]y approving a generic version of the drug, FDA increased supply and

availability, lowering cost and thus increasing use of chemical abortions.” Prop. Compl. ¶ 257;

States’ App’x, ECF No. 151-3, at 648-52. That is still only an attempted statistical showing of harm,

and such probabilistic arguments are inadequate to establish concrete, imminent injury even at the

motion to dismiss stage. See, e.g., Summers v. Earth Island Inst., 555 U.S. 488, 499 (2009). Because the

States cannot identify any past or future injury that is definitively tied to FDA’s approval of generic

mifepristone, the States lack standing for this claim even if their injuries were otherwise cognizable.

    II.       The States Meet None of the Criteria for Intervention as of Right
          Contrary to the States’ assertions, they have neither an “absolute” nor “unqualified right to

intervene” in this action, Mot. at 6-7, because they fail to establish entitlement under any of the

requisite factors. See Fed. R. Civ. P. 24(a)(2). The States’ proffered excuses for their year-long delay

in seeking intervention lack merit since any stake they may have in the outcome of this litigation

has been plain from the outset (indeed, all three States already have participated before this Court

as amici curiae, see ECF Nos. 48-2 (Missouri), 100 (Idaho and Kansas)), and the intervening events

purportedly prompting the States’ request did not materially change any interest. Intervention at

this stage, when FDA already has secured a full stay of this Court’s order and the Supreme Court

has granted certiorari, would be highly prejudicial to the government and would be pointless since

it would not allow the States to participate in Supreme Court proceedings. Moreover, the States lack

any concrete interest sufficient to challenge FDA’s actions, and even if they could show such an

interest, disposition of this case (on grounds of standing or otherwise) would not, “as a practical

matter, impair or impede [their] ability to protect that interest,” Wal-Mart Stores, Inc. v. Texas Alcoholic

Beverage Comm’n, 834 F.3d 562, 565 (5th Cir. 2016) (citation omitted), since it would not prevent the

States from filing their own action in a proper venue. And finally, the States’ claim that the existing

Plaintiffs cannot adequately represent their interests is belied by their own characterization that their

“complaints materially differ only with respect to the theories of standing,” see ECF No. 156, States’

Opp. to Mot. to Hold in Abeyance, at 2, and the States do not rebut the presumption of adequate




                                                    10
Case 2:22-cv-00223-Z Document 163 Filed 12/15/23                     Page 17 of 32 PageID 5543



representation that applies in such circumstances. In short, the States have failed to establish any of

the factors for intervention as of right and their motion should be denied.

        A. The States’ delay is fatal to their request.

        In evaluating whether the States timely have sought to intervene, the Court must consider

the so-called Stallworth factors:

        (1) The length of time during which the would-be intervenor actually knew or
        reasonably should have known of its interest in the case before [it] petitioned … to
        intervene … ; (2) [t]he extent of the prejudice that the existing parties to the litigation
        may suffer as a result of the would-be intervenor’s failure to apply for intervention
        [sooner] … ; (3) [t]he extent of the prejudice that the would-be intervenor may suffer
        if … interven[tion] is denied; and (4) [t]he existence of unusual circumstances
        militating either for or against a determination that the application is timely.
Stallworth v. Monsanto Co., 558 F.2d 257, 264-66 (5th Cir. 1977) (citations omitted). The States have

not acted with the diligence necessary to support a finding of timeliness under any factor.

            i.   No intervening events have altered the States’ interest in this suit, so any purported
                 interest has been present since the outset.

        Although the States are correct that, under Fifth Circuit precedent, timeliness “is not

[necessarily] measured from the date an intervenor would have first become aware of the litigation,”

Mot. at 8, the authorities on which the States rely do not support their gambit. “The timeliness clock

runs either from the time the applicant knew or reasonably should have known of his interest [in

the litigation itself], or from the time he became aware that his interest would no longer be protected

by the existing parties to the lawsuit.” Edwards v. City of Houston, 78 F.3d 983, 1000 (5th Cir. 1996).

In practice, this requires courts to consider the date at which the would-be intervenor had reason

to believe the outcome of the litigation may “adversely affect[]” the movant’s interests. Sierra Club

v. Espy, 18 F.3d 1202, 1206-07 (5th Cir. 1994). As explained more fully below, each of the authorities

on which the States rely involve situations where a party promptly moved for intervention within

weeks of an event that newly gave rise to the party’s interest. Given that a full year has elapsed since

Plaintiffs filed this suit, the States can show that their delay in filing was reasonable only by




                                                   11
    Case 2:22-cv-00223-Z Document 163 Filed 12/15/23                       Page 18 of 32 PageID 5544



    establishing that some intervening, far-more-recent event provided notice that their interests could

    be adversely impacted.

            The States insist that “[i]t was not until very recently that [they] were put on notice that their

    interests may be adversely affected” by this suit and proffer three purportedly intervening events

    that, they claim, provide the appropriate start date for the timeliness clock. Mot. at 9. But none of

    these events materially changed any interest the States could have vis-à-vis this litigation—meaning

    that any interest the States could have in its outcome did not newly arise this summer. First, the

    States point to a June 2023 release of information, “the first since after Dobbs—showing just how

    many Missourians are obtaining chemical abortions in Kansas before going back home to Missouri.”

    Id. But the States’ portrayal is misleading: The report on which they rely shows that “2,883
    Missourians obtained abortions in Kansas” 1 in 2022, yet the States ignore that this number

    represents a substantial drop in abortions performed in Kansas for Missouri residents, since 3,937

    such abortions were recorded in 2021 2 and 3,641 were recorded in 2020. 3 Data revealing that the

    number of Missourians obtaining an abortion in Kansas decreased by 27% did not newly reveal any

    interest by Missouri in the outcome of this litigation (and Kansas cannot complain about out-of-

    state residents crossing its borders to pursue activity therein that is perfectly lawful). Besides, in 2020

    only 167 abortions were performed within Missouri compared to more than 3,000 performed in

    Kansas for Missouri residents,4 so both states have long been aware that Missouri residents primarily

    obtained abortion services in the neighboring state.

            Second, the States claim to have newly discovered an interest in this litigation through news

    reports “that out-of-state organizations are sending thousands of abortion pills into Intervenor

    States,” Mot. at 9. These news reports have nothing to do with the issues in this litigation. But in

    any event, the States themselves plead that organizations have been sending mifepristone through


1
  Abortions in Kansas, 2022 Preliminary Report at 8, https://perma.cc/L5XC-4JT2 (cited Mot. at 5).
2
  Abortions in Kansas, 2021 Preliminary Report at 8, https://perma.cc/3CQ6-SFNE.
3
  Abortions in Kansas, 2020 Preliminary Report at 8, https://perma.cc/2BT8-DENC.
4
  Nearly half of abortions in Kansas are for Missouri residents, THE KANSAS CITY BEACON, Nov. 17, 2021,
https://perma.cc/H5HA-5GCK.


                                                        12
Case 2:22-cv-00223-Z Document 163 Filed 12/15/23                          Page 19 of 32 PageID 5545



the mail since at least 2018, see Mot. at 4, and the possibility that some patients in abortion-restrictive

states have sought mifepristone through such channels was widely publicized even before this suit

was filed. See, e.g., To get banned abortion pills, patients turn to legally risky tactics, THE WASHINGTON POST,

July 6, 2022, https://perma.cc/K8Z9-VV35; Mail-order abortion pill requests surged after Roe reversal, study

finds, AXIOS, Nov. 1, 2022, https://perma.cc/6BDZ-3Z9D. The States cannot establish notice of a

newly acquired interest in this suit by selecting two more-recent news reports while ignoring similar

reports that publicized the same alleged facts far earlier.

        Even aside from publicly available information, the States themselves have articulated this
alleged interest far earlier. For instance, in its February 2023 amicus brief, Missouri told this Court

that it “has a strong interest in this litigation because the FDA’s decision to … create a regime of

abortion by mail imposes harms that necessarily spill over into Missouri, impeding the operation of

state law.” ECF No. 48-2, Br. of the State of Missouri as Amicus Curiae, at 1; see also id. at 7 (alleging

FDA has “purport[ed] to create a nationwide license to distribute chemical abortion drugs by mail”).

Idaho and Kansas likewise took the same position before this Court in February 2023. See ECF No.

100, Br. of 22 States as Amici Curiae, at 13 (arguing that FDA’s actions “impose a federal mail-order

abortion regime that disregards the protections for life, health, and safety adopted by numerous

States’ elected representatives”). Indeed, Idaho even sought to intervene in March 2023 in separate

litigation to press the same interest it now claims to have only just learned about. See States’ Prop.

Compl. in Intervention, ECF No. 76-1, Washington v. FDA, Case No. 1:23-cv-03026 at ¶ 52 (“Idaho

also has a sovereign interest in ensuring that its laws are enforced and not undermined” but,

“without the in-person dispensing requirement, mifepristone will be able to travel across Idaho’s

borders and be used to unlawfully induce abortions in Idaho”). The States could not have newly

discovered this summer an interest that they repeatedly articulated in court filings far earlier.

        Third, the States invoke an out-of-circuit motion to dismiss ruling in unrelated litigation,

which they claim has “recently” revealed “a substantial and serious sovereign harm” necessitating

participation in this litigation. Mot. at 3. In that case, GenBioPro, Inc., 2023 WL 5490179, a district

court allowed to proceed a preemption claim challenging West Virginia’s in-person dispensing


                                                      13
Case 2:22-cv-00223-Z Document 163 Filed 12/15/23                     Page 20 of 32 PageID 5546



requirement. But similar preemption issues are not even presented by this litigation—and the States

wholly ignore that in October 2023, before they filed their motion to intervene, the plaintiff in

GenBioPro amended its complaint to abandon this particular preemption claim and dismiss it with

prejudice. See Mot. Am. Compl. & Jt. Stip., GenBioPro v. Sorsaia, ECF No. 73 at 2. The States’ reliance

on that ruling to support their belated intervention here is meritless given that the States plainly

were aware of the case (which was filed in January 2023) well before this summer, since all three

participated as amici curiae in February 2023; the only preemption claim that survived the motion to

dismiss has now been dismissed with prejudice; any potential dispute over preemption of the States’

laws is purely hypothetical and speculative, since no such challenge has been raised; and in any event,

the States themselves insist that the GenBioPro ruling was wrong, see Compl. ¶ 324. That non-binding,

preliminary ruling in unrelated litigation did not newly create an interest by the States in the outcome

of this litigation.
        The States’ reliance on these three purported intervening events is illusory because none

created or revealed any newfound interest by the States in the outcome of this litigation. And since

the States cannot identify any interceding event marking “the time [they] knew or reasonably should

have known of [their alleged] stake” in this lawsuit, John Doe No. 1 v. Glickman, 256 F.3d 371, 376

(5th Cir. 2001), any purported interest in it necessarily would have “materialized,” id. at 377, at the

commencement of the litigation—as proven by the States’ earlier amici curiae filings.

        The States’ request bears no resemblance to the circumstances present in the cases on which

they rely. On the contrary, in each case the Fifth Circuit identified a specific event precipitating the

need for intervention and found timely a request to intervene filed within weeks of that event. In

Glickman, for instance, precisely the same issue was presented in litigation pending in both Waco

and the District of Columbia. 256 F.3d at 377-78. But not until the D.C. court stayed that action

pending resolution of the Waco matter, “ma[king] it clear that the Waco Lawsuit would be the

lawsuit where the Issue would be decided,” did the D.C. plaintiffs’ stake in intervening materialize.

Id. Because the D.C. plaintiffs sought intervention within one month after becoming aware of their

stake in the Waco litigation, the Fifth Circuit determined intervention was timely. Similarly, in Espy,


                                                  14
    Case 2:22-cv-00223-Z Document 163 Filed 12/15/23                   Page 21 of 32 PageID 5547



    intervention was deemed timely in a roughly eight-year-old lawsuit after an unanticipated preliminary

    injunction issued and the Forest Service announced “that it would apply the preliminary injunction

    to all timber sales (not merely the nine sales challenged by the plaintiffs),” thus signaling that it

    “would not protect the[] interests” of would-be purchasers in separate, unchallenged sales. 18 F.3d

    at 1206-07 (noting that intervention was sought less than two months after intervenor’s interest

    newly materialized). And in Edwards, third parties lacked notice of their interest in civil-rights

    litigation against the city of Houston until the trial court entered a consent decree with a “broad

    reach” directly impacting intervenors’ members, who then timely sought intervention “only 37 and

    47 days … after publication of the notice and decree.” 78 F.3d at 1000. Likewise, in Stallworth, a

    challenge by African-American employees to certain promotion and seniority practices of the
    defendant company, other employees timely moved to intervene less than one month after the

    district court entered a sweeping consent order under which intervenors “were moved to lower

    paying jobs.” 558 F.2d at 261-62, 267 (“It cannot be said that they ought to have fathomed the

    potential impact of this admittedly complex case on their seniority rights at some earlier date.”).5

    The common thread in these cases is that, in each, the Fifth Circuit identified some intervening

    event that newly gave rise to an interest by intervenor in the outcome of the litigation—and, each

    time, intervenors promptly acted in less than two months. Here, by contrast, the States have failed

    to identify any comparable event that materially changed their purported interests, meaning any

    interest they could have remains unchanged from the outset, and since the States chose to sit on the

    sidelines for roughly a year, their request is untimely.6


5
  See also Ross v. Marshall, 426 F.3d 745, 755 (5th Cir. 2005) (intervention timely sought by insurer to
appeal final judgment against named insured; intervention sooner “would have been pointless as”
intervenor’s interests were being protected by counsel for named insured paid for by insurer).
6
  The States’ contention that their year-long delay in acting “should be judged against the fact that this
case still remains in its earliest stages” because FDA “ha[s] not even filed an answer,” is unsupported
by the precedent on which they rely and unpersuasive, since the States fail to identify any event newly
giving rise to an interest in this suit and have not acted within two months of any interest arising. Mot.
at 9. As for the fact that no answer has been filed, this case has been stayed for an extended period
while the government has sought review of the Court’s preliminary injunction, including two trips to
the U.S. Supreme Court; that unusual posture does not justify the States’ tardy actions.


                                                       15
Case 2:22-cv-00223-Z Document 163 Filed 12/15/23                      Page 22 of 32 PageID 5548



            ii. Intervention would prejudice the parties.

        The States’ argument regarding prejudice to the existing parties rests on two flawed

premises. Mot. at 9-11. First, the States once again contend that “the ‘starting’ point at which any

prejudice is measured is the end of August,” id. at 10, when a district court in West Virginia issued

a motion to dismiss ruling in unrelated litigation with no merits issues in common with this litigation.

But—as demonstrated supra—GenBioPro has neither created nor revealed any interest by the States

in this litigation, so the prejudice prong must be measured against the States’ delay since the suit was

filed in November 2022. Second, the States contend that “[t]he lack of any substantive activity before

this Court since April demonstrates that no party is prejudiced,” Mot. at 10 (emphasis added), but
this ignores that the parties vigorously have been litigating an appeal of this Court’s order, both

before the Fifth Circuit and the U.S. Supreme Court, since the order issued. The States cite no

authority or rationale suggesting that proceedings on appeal do not count in the prejudice analysis.

        FDA would suffer substantial prejudice if intervention is granted at this late date. The States

base their need for intervention on the fact that FDA’s recent petition for certiorari maintains its

position that the existing Plaintiffs lack standing (an argument consistently pressed since the start

of this case, see ECF No. 28, Defs.’ Opp. to Mot. for Prelim. Inj., at 8-15), and insist that intervention

promotes efficiency because, even if the Supreme Court agrees with FDA on standing, the States

could carry this case forward. Mot. at 1-2. But in those circumstances, FDA will be forced to expend

significant resources to litigate the States’ ability to maintain this suit notwithstanding the lack of

jurisdiction at the outset, see supra § I. And in the scenario posited by the States, in which FDA

prevailed on standing but this Court allowed the States to proceed nonetheless, FDA plainly would

be prejudiced by the inefficiency of being forced to relitigate precisely the same issues on remand

in the same docket simply because the States had swooped in to proceed where the original plaintiff

could not. While the States contend that “there is a serious risk of judicial inefficiency if not all …

theories of standing” are “presented at once,” Mot. at 1, the States are responsible for creating that

state of affairs by sitting idly by until the case is teed up for the Supreme Court. Nor can the States

seriously contend that their last-minute effort to intervene “alleviates prejudice to the Defendants”


                                                       16
    Case 2:22-cv-00223-Z Document 163 Filed 12/15/23                            Page 23 of 32 PageID 5549



    by obviating the need to respond to a separate lawsuit, see Mot. at 10-11; the States cannot alleviate

    the prejudice caused by their belated request by claiming that purported efficiency is in the best

    interests of FDA—when it is they who seek to evade venue, statute of limitations, and other

    threshold requirements by piggybacking onto Plaintiffs’ claims. 7

                iii. The States would suffer no prejudice because they can file suit in an appropriate forum.

            The States’ assertion that they would suffer “significant prejudice to [their] ability to protect

    their rights and interests” absent intervention, Mot. at 11, is incorrect. Once again, the premise of

    the States’ request is that the Supreme Court could agree with FDA that the existing Plaintiffs lack
    standing, but that would have no impact on the States’ ability to protect their alleged interests.

    Prejudice to a would-be intervenor occurs where the outcome of the litigation will bind or adversely

    impact the would-be intervenor in a concrete way and, absent intervention, the proposed intervenor

    would lack recourse to protect its interest. See, e.g., Glickman, 256 F.3d at 379 (intervenor would be

    prejudiced where, if existing plaintiff prevailed, “the USDA will be prohibited, by court order, from

    disclosing the … Information that the [intervenor] seeks” in separate litigation); Espy, 18 F.3d at

    1206-07 (intervenor was prejudiced by Forest Service’s decision to apply preliminary injunction

    broadly to circumstances not at issue in litigation); Ross, 426 F.3d at 756 (intervenor “will suffer

    considerable prejudice if it is denied the opportunity” to participate where it “is bound by the district

    court’s judgment” that “may expose it to significant liability”). As these cases make clear, a putative

    intervenor must show that an adverse outcome of the subject litigation will prevent it from vindicating

    its rights. But here, the States are free to file their own lawsuit in an appropriate venue. Indeed, even

    in the scenario purportedly prompting their request—an adverse ruling rejecting the existing

7
  Although the States’ proposed Complaint could be read to raise a broader challenge than the existing
Plaintiffs to the 2019 approval of the generic version of mifepristone, i.e., challenging the underlying
science supporting that approval, compare Pls.’ Compl. ¶¶ 384-388 (challenging the 2019 approval
based solely on the name-brand drug’s approval in 2000 as being unlawful), with Prop. Compl. ¶ 414
(“FDA’s 2019 ANDA Approval was independently unlawful because FDA lacked a sufficient
scientific basis for granting the approval.”), FDA assumes that is not their intent, given the States’
insistence that they raise the same substantive arguments as the Plaintiffs. But if that understanding is
mistaken, it is one more reason to deny intervention, given the prejudice that would accrue to FDA
from expansion of the scope of this litigation.


                                                           17
Case 2:22-cv-00223-Z Document 163 Filed 12/15/23                            Page 24 of 32 PageID 5550



Plaintiffs’ standing—that could not conceivably “prejudice the ability of the States to litigate their

interests” in a proper forum, contra Mot. at 11.

            iv. The unusual procedural posture militates against a finding of timeliness.

        Finally, the Court must evaluate any unusual circumstances that weigh in favor of or against

a finding of timeliness. Espy, 18 F.3d at 1207. The course of this litigation has been far from typical:

Despite the fact that the government has yet to answer Plaintiffs’ complaint, this matter is before

the Supreme Court for the second time. That Court previously granted FDA’s request for an

emergency stay of this Court’s order—necessarily meaning that FDA had demonstrated a likelihood

of success on the merits of its appeal—with the result that the stay order never has taken effect, and

the Court will consider the case this term. Furthermore, the States have participated as amici curiae
both in this litigation and in the GenBioPro litigation which they claim forms a basis for the need to

intervene now. The States’ complaint that their chosen method of participation to date now affords

them insufficient protection rings hollow considering their delay in moving for intervention. This

unique procedural history and the current posture of the case weigh strongly against a finding of

timeliness. Because each of the Stallworth factors weighs against a finding of timeliness, the States

have failed to justify their year-long delay in seeking intervention.

        B. The States have not demonstrated an interest in this litigation.

        Not only have the States failed to act in a timely manner, they also lack a legally protected

interest sufficient to warrant intervention. The States treat this factor as essentially coextensive with

Article III standing and argue that their allegations of economic harm, threat to sovereign interests

in enforcing their legal codes, and parens patriae interest in protecting citizens’ health provide an

adequate basis to support their participation in this litigation. Not so: As explained supra Section

I.B, each of the States’ three theories of standing fail as a matter of law.

        Moreover, the interest analysis is not, as the States portray, a simple inquiry into whether a

party has standing. See United States v. 36.96 Acres of Land, More or Less, 754 F.2d 855, 859 (7th Cir.

1985 (“There is a qualitative difference between the ‘interest’ which is sufficient for standing to

bring an action under the APA and the ‘direct, significant legally protectable interest’ required”


                                                       18
Case 2:22-cv-00223-Z Document 163 Filed 12/15/23                        Page 25 of 32 PageID 5551



under Rule 24(a)). Circuit precedent requires a would-be intervenor to demonstrate that it has “a

stake in the matter that goes beyond a generalized preference that the case come out a certain way.”

Texas v. United States, 805 F.3d 653, 657 (5th Cir. 2015). An asserted interest must be one that impacts

the party in a “direct” manner, id. at 658; it is insufficient when the movant “seeks to intervene

solely for ideological, economic, or precedential reasons; that would-be intervenor merely prefers one

outcome to the other.” Id. at 657; see also Kleissler v. U.S. Forest Serv., 157 F.3d 964, 972 (3d Cir. 1998)

(“[I]ntervenors should have an interest that is specific to them, is capable of definition, and will be

directly affected in a substantially concrete fashion by the relief sought”—an interest that “may not

be remote or attenuated”). That analysis focuses on whether the asserted interest is “specific to the

person possessing the right,” Texas, 805 F.3d at 658, rather than a generalized or broadly-shared

preference that the issue result in a certain outcome.

        The States cannot meet this test because the interests they assert—even were they legally

cognizable, which they are not—are precisely the sort of broad-based “ideological” and “economic”

motivations that are insufficient to support intervention. A final judgment in this case, whether for

or against the existing Plaintiffs, will have no direct impact on the States. The attenuated purported

harms relied on by the States are indistinguishable from the interests of other states that provide

some type of funding for healthcare and/or oppose abortion on ideological grounds. Nor, for that

matter, are the States’ purported interests different in kind from those of states that do support

abortion access—in neither instance is the generalized preference that this litigation result in a

certain outcome sufficient to support intervention. After all, the States here are seeking intervention

as of right; if their attenuated theories sufficed, any state wishing to protect abortion access or any

healthcare providers desiring to continue prescribing mifepristone would have equally protected

interests. That is not the law.

        For example, the en banc Fifth Circuit rejected an attempt by a governmental entity to

intervene in a contract dispute between a private utility company and its fuel supplier to assert an

interest in maintaining low electricity rates, which the intervenor claimed would rise if the utility lost

the underlying dispute. New Orleans Pub. Serv., Inc. v. United Gas Pipe Line Co., 732 F.2d 452, 460-61


                                                    19
    Case 2:22-cv-00223-Z Document 163 Filed 12/15/23                         Page 26 of 32 PageID 5552



    (1984). Even though the threat of higher prices might injure the would-be intervenor, it did not

    support intervention: “By requiring that the applicant’s interest be not only ‘direct’ and ‘substantial,’

    but also ‘legally protectable,’ it is plain that something more than an economic interest is necessary.

    What is required is that the interest be one which the substantive law recognizes as belonging to or

    being owned by the” intervenor. Id. at 464. This forecloses the States’ endeavor, which relies on

    precisely the same sort of undifferentiated economic and ideological harms.

            The States also rely on Wal-Mart Stores, 834 F.3d 562, to contend that, “[s]o long as a party

    ‘can legally protect’ a regulatory system affected by a lawsuit, ‘it likely has an interest’ for the purpose

    of intervention.” Mot. at 13. This represents a fundamental misreading of Wal-Mart Stores. There

    the Fifth Circuit confirmed the settled proposition that “the intended beneficiary of a government

    regulatory system” may in some circumstances intervene to defend that regulatory regime when

    challenged by an outside party. Wal-Mart Stores, 834 F.3d at 569 (emphasis added). In other words,

    where relief is sought directly against a statutory or regulatory scheme that was passed for the benefit

    of certain private individuals or entities, the intended beneficiaries of that scheme may protect a

    legally cognizable interest in its maintenance. See id. at 566-69 (surveying caselaw standing for that

    proposition). Here, none of the States’ regulatory systems are challenged in this lawsuit; no party is

    seeking relief against any aspect of the States’ legal codes; and it is the States themselves, not Plaintiffs,

    that wish to inject issues related to their regulatory systems into this dispute.8




8
  Heaton v. Monogram Credit Card Bank of Georgia, 297 F.3d 416, 424 (5th Cir. 2002) (cited Mot. at 13), is
equally irrelevant. There the court merely confirmed that a governmental entity can intervene in an
otherwise private dispute to defend its regulatory decisions when challenged in the underlying
litigation. Heaton supports no more than the uncontroversial proposition that the States could
intervene in litigation challenging the legality of their abortion laws; it does not support their attempt
to intervene here on the purported basis of defending state-law regulatory systems against which no
relief has been sought. Equally far afield is Sierra Club v. City of San Antonio, 115 F.3d 311, 315 (5th Cir.
1997) (cited Mot. at 14), since there the state intervenor asserted sovereign interests in the oversight
and management of state natural resources that were directly at issue in the underlying litigation. It is
well-established that a state has a right to be heard in a dispute over management of its own natural
resources. No precedent cited by the States is analogous to their intervention attempt here.


                                                         20
Case 2:22-cv-00223-Z Document 163 Filed 12/15/23                      Page 27 of 32 PageID 5553



        C. The outcome of this matter will have no bearing on the States’ interests.

        This factor is easily dispatched. The very premise of the States’ intervention motion is that

they are concerned that the existing Plaintiffs might not have standing to pursue their claims. See,

e.g., Mot. at 1-2 (“if an appellate court vacates the preliminary injunction on standing grounds, or this

Court declines to grant permanent injunctive relief on standing grounds, the States’ interests will be

harmed.” (emphasis added)); see also id. at 5 (arguing that, “if the Supreme Court agrees with the

Federal Government’s standing arguments, then the States will lose whatever incidental relief they

have obtained incident to” this Court’s order). But a loss on standing by the existing Plaintiffs plainly

would not impede the States’ ability to protect their asserted interests. A ruling on the Plaintiffs’

standing would have no “stare decisis” effect on the States or in any future action by the States, contra

Mot. at 15-16. Under the States’ own premise, therefore, intervention is not needed to protect their

asserted interests.
        Nor can the States otherwise establish that the outcome of this litigation will, as a “practical

… and not merely theoretical” matter, impair or impede the States directly, as is required for

intervention as of right. Brumfield v. Dodd, 749 F.3d 339, 344 (5th Cir. 2014) (citation omitted). The

States cannot establish that intervention is warranted to guard against a loss by the existing Plaintiffs

on the merits, since they already have told this Court that “the substantive arguments in the complaints

are the same” and that they “materially differ only with respect to the theories of standing.” ECF

No. 156, Opp’n to Mot. for Abeyance, at 2. The States cannot identify how the existing Plaintiffs

might be deemed to have standing but lose on the merits yet the States would nonetheless succeed

on the same “substantive arguments,” see id., in the same proceeding.

        Indeed, the States do not claim that their participation is likely to alter any outcome on the

merits, yet they rely on cases that found a would-be intervenor’s interests could be impaired by the

“stare decisis effect of the district court’s judgment.” Mot. at 15. But the States overlook that, in each

of those cases, the outcome of the suit stood to directly impact the intervenor, who would have no

opportunity to present its own claims or otherwise vindicate its interest in a separate lawsuit. See

Espy, 18 F.3d at 1207 (success by environmental groups would compel Forest Service to apply ruling


                                                   21
Case 2:22-cv-00223-Z Document 163 Filed 12/15/23                       Page 28 of 32 PageID 5554



in a manner “threaten[ing] … existing timber contracts” of intervenors); Heaton, 297 F.3d at 424

(district court’s decision in private litigation would overturn agency’s regulatory decision with no

opportunity to correct). A mere interest in the development of precedent, or the desire to assert a

claim that might be affected by a Supreme Court decision in another case, does not justify

intervention as of right under Rule 24(a).

        “[A]s a practical matter,” then, resolution of this action cannot “impair or impede the

movant’s ability to protect [its] interest,” Brumfield, 749 F.3d at 344, since a ruling on standing would

not apply to the States; resolution of the merits, if reached, will not differ with the States’
participation; and nothing prevents the States from filing their own lawsuit in a proper forum. This

distinguishes the States’ attempt from every case on which they rely, each of which involved

scenarios where an adverse ruling would act concretely and directly on the intervenor’s rights with

no recourse after such a judgment. See id., 749 F.3d at 344 (if United States succeeded in enjoining

state school-voucher program, “some parent[ intervenors] are at risk of losing vouchers or their full

range of school choices”); Espy, 18 F.3d at 1207 (defendant Forest Service’s decision to apply

injunction broadly to all timber sales, not only those challenged in underlying litigation, would bar

intervenors’ existing contracts); Ross, 426 F.3d at 760 (intervenor insurance company would face

liability exposure from judgment against named insured); see also Glickman, 256 F.3d at 380 (absent

intervention, movant “would be prevented from ever being heard in a lawsuit that has the potential

to end its quest to compel the USDA to disclose” certain information and “that ruling could

collaterally estop [movant] in” another court).

        D. The States have failed to rebut the presumption of adequate representation.

        On the final factor, adequacy of representation, the States argue that, since “an action

brought by private plaintiffs cannot adequately represent governmental interests,” Mot. at 16, the

existing Plaintiffs cannot provide adequate representation. In other words, the States posit that,

because their theories of harm vary—and since private parties could not assert sovereign harms—

this factor is met. See id. (“some of the injuries [the States] seek to assert … specifically the sovereign

harms … could never be asserted by private, non-state parties). The States’ argument conflates the


                                                    22
Case 2:22-cv-00223-Z Document 163 Filed 12/15/23                     Page 29 of 32 PageID 5555



representation analysis, which asks whether the litigation goals of parties are in alignment, with the

question whether parties are relying on the same theories of injury. This is not the law; the States’

theory would “write the requirement completely out of the rule,” Bush v. Viterna, 740 F.2d 350, 355

(5th Cir. 1984), since distinct parties rarely present precisely overlapping theories of injury.

        Contrary to the States’ portrayal, the adequacy of representation analysis focuses on whether

the existing parties seek the same goal or objective in the litigation as the would-be intervenor.

Where the litigation goals align, the purported intervenor’s interests are adequately represented;

adequate representation does not exist, however, where the existing parties have some potential

conflict of interest with the intervenor.
        Here, the States’ goal in this litigation is the same as Plaintiffs’—reimposing restrictions on

mifepristone’s distribution—and they cannot articulate any potential scenario in which their goals

would conflict with Plaintiffs’. The States’ request is thus fundamentally unlike the interests found

to be inadequately represented in every authority on which they rely. See City of San Antonio, 115

F.3d at 315 (Texas’s interest in maintaining adequate water supply state-wide not adequately

represented by individual pumpers of aquifer, whose goals likely will “diverge” because they “rely

on the … water supply for their immediate subsistence”); Espy, 18 F.3d at 1207-08 (Forest Service

required to protect the public interest, not to “represent … the economic concerns of the timber

industry,” and already had taken position at-odds with intervenor’s interest, demonstrating

misalignment of goals); Brumfield, 749 F.3d at 346 (parents’ interest in maintaining school vouchers

not adequately represented by state, which had “many interests in this case” and was “staking out a

position significantly different from that of” the parents); Trbovich v. United Mine Workers of Am., 404

U.S. 528, 538-39 (1972) (because “t[]he statute plainly imposes on the Secretary [of Labor] the duty

to serve two distinct interests … th[at] may not always dictate precisely the same” litigation

outcome, Secretary could not adequately represent union member’s individual interest); Glickman,

256 F.3d at 381 (USDA “must represent the broad public interest,” which may not align with an

individual FOIA requestor’s goal of receiving information); Edwards, 78 F.3d at 1005 (City did not

adequately represent interest of certain police officers due to “sharp disalignment” in litigation


                                                   23
Case 2:22-cv-00223-Z Document 163 Filed 12/15/23                    Page 30 of 32 PageID 5556



goals). As these cases show, the States’ reliance on the fact that Plaintiffs cannot assert “sovereign

and direct economic harms … [to] the States,” Mot. at 17, simply misstates the relevant test.

        Indeed, in situations such as this “when the would-be intervenor has the same ultimate

objective as a party to the lawsuit,” the Fifth Circuit applies a “presumption of adequate

representation.” Edwards, 78 F.3d at 1005. “In such cases, the applicant for intervention must show

adversity of interest, collusion, or nonfeasance on the part of the existing party to overcome the

presumption.” Id. This requires an intervenor to demonstrate “adversity of interest,” meaning that

its goals in the lawsuit “diverge from the putative representative’s interests in a manner germane to

the case.” Texas, 805 F.3d at 661-62.
        The States have not even attempted to meet their burden in overcoming the strong

presumption of adequacy; nowhere have they asserted that the existing Plaintiffs are adverse to the

States, are colluding with the government, or have negligently conducted this litigation. Id. Rather

than attempt to carry their burden to rebut the presumption, the States largely dismiss this test by

cherry-picking language from cases where an adversity of interest was found to apply. See Mot. at

18 (citing Brumfield, 749 F.3d at 345 (discussed supra)); Wal-Mart Stores, 834 F.3d at 569 (“Even

assuming, arguendo, that … the presumption[] of adequate representation applies, the [intervenor]

has shown ‘adversity of interest’”) (citation omitted); see also Heaton, 297 F.3d at 424-25 (FDIC’s

interest “in protecting the proper and consistent application of the Congressionally designed

framework to ensure the safety and integrity” of the banking system could not be adequately

represented by an individual bank “even though, at this moment, they appear to share common

ground”). The States’ portrayal of these cases as scenarios in which “the presumption has been

found not to apply,” Mot. at 18, is baseless; on the contrary, they represent successful showings of

adversity of interest—a showing that the States make no attempt to satisfy. Indeed, the States admit

that they seek to press the same substantive arguments as Plaintiffs, their proposed complaint

demonstrates an alignment in their ultimate goals in this litigation, and they can articulate no

scenario in which their interests would be adverse to Plaintiffs’, which means, as a matter of law,

that Plaintiffs adequately represent their interests.


                                                   24
Case 2:22-cv-00223-Z Document 163 Filed 12/15/23                      Page 31 of 32 PageID 5557



    III.      Permissive intervention should be denied.

           The States argue in the alternative that this Court should grant permissive intervention, but

their arguments are derivative of their quest for intervention as of right and are equally unpersuasive.

Permissive intervention can be granted only where an application is timely, Federal Rule of Civil

Procedure 24(b)(1)(B), and “[t]imeliness under mandatory intervention is evaluated more leniently

than under permissive intervention.” Rotstain v. Mendez, 986 F.3d 931, 942 (5th Cir. 2021) (emphasis

added). As demonstrated supra § II.A, the States have failed to show that their application is timely

under the Stallworth factors, 558 F.2d at 266. Because the States have failed to demonstrate that their

application is timely under the more-lenient standard for mandatory intervention, Rotstain, 986 F.3d

at 942, their request for permissive intervention likewise is untimely. For similar reasons, the States

have not shown that existing parties will not be prejudiced by intervention at this stage, contra Mot.

at 20-21. And finally, in considering permissive intervention, this Court should “consider …
‘whether the intervenors’ interests are adequately represented by other parties’ and whether they

‘will significantly contribute to full development of the underlying factual issues in the suit.’” New

Orleans Public Svc., Inc., 732 F.2d at 472. The existing Plaintiffs adequately represent the States’

interests, and the States’ overlapping claims will in no way aid (or alter) factual development here.

           In short, no factor supports permissive intervention, and the Court should decline to

exercise its discretion to grant the States’ request. Whatever the outcome in the Supreme Court,

intervention by the States will only threaten to complicate and prolong this already-complex

litigation. As discussed above, this Court will lack jurisdiction to allow the case to proceed if the

existing Plaintiffs are found to lack standing (even if intervention is granted in the interim), so

intervention cannot be justified in that scenario. And if the existing Plaintiffs are held to have

standing and the case is remanded for further proceedings, participation by the States will inject

new and difficult issues for resolution including the States’ theories of standing and additional

exhaustion issues, since the States make no claim to have presented their issues to the agency. Since

participation of the States will only complicate these proceedings—and the States are free to sue in

a proper forum—there is no reason for this Court to grant discretionary intervention.


                                                    25
Case 2:22-cv-00223-Z Document 163 Filed 12/15/23       Page 32 of 32 PageID 5558



December 15, 2023                        Respectfully submitted,

                                      BRIAN M. BOYNTON
                                      Principal Deputy Assistant Attorney General
OF COUNSEL:
                                      JULIE STRAUS HARRIS
SAMUEL R. BAGENSTOS                   ERIC B. BECKENHAUER
General Counsel                       EMILY NESTLER
                                      Assistant Directors
MARK RAZA
Associate General Counsel             DANIEL SCHWEI
U.S. Department of Health             Special Counsel
 and Human Services
Chief Counsel                         /s/ Kate Talmor
Food and Drug Administration          KATE TALMOR
                                      CHRISTOPHER A. EISWERTH
                                      Trial Attorneys
                                      Federal Programs Branch
                                      Civil Division
                                      U.S. Department of Justice
                                      1100 L St., NW
                                      Washington, DC 20005
                                      202-305-5267
                                      kate.talmor@usdoj.gov

                                      ARUN G. RAO
                                      Deputy Assistant Attorney General

                                      AMANDA N. LISKAMM
                                      Acting Director

                                      HILARY K. PERKINS
                                      Assistant Director

                                      NOAH T. KATZEN
                                      Trial Attorney
                                      Consumer Protection Branch




                                    26
